    Case: 1:19-cv-03674 Document #: 10 Filed: 07/03/19 Page 1 of 2 PageID #:122




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION



SYMBOLOGY INNOVATIONS, LLC,                     )
                                                )
                       Plaintiff,               )
                                                )   Case No. 1:19-cv-03674
       v.                                       )
                                                )
BARILLA AMERICA, INC.,                          )   DEMAND FOR JURY TRIAL
                                                )
                       Defendant.               )
                                                )
                                                )


                      NOTICE OF DISMISSAL WITHOUT PREJUDICE

       TO THIS COURT AND ATTORNEYS OF RECORD Plaintiff Symbology Innovations,

LLC, by and through the undersigned counsel and pursuant to Rule 41(a) of the Federal Rules

of Civil Procedure dismiss the Complaint filed by Plaintiff in the above captioned action

without prejudice.


Dated: July 3, 2019                          Respectfully submitted


                                             /s/ Isaac Rabicoff
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                                            Attorney(s) for Plaintiff Symbology Innovations,
                                            LLC.


                                CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2019, I electronically filed the above documents with the

Clerk of Court using CM/ECF which will send electronic notification of such filings to all

registered counsel.



                                                    /s/ Isaac Rabicoff
                                                    Isaac Rabicoff




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